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10
                           UNITED STATES DISTRICT COURT FOR THE
11
12                               NORTHERN DISTRICT OF CALIFORNIA

13    LISA CHONG AND ZACK SCHWARTZ,                  Case No.: 3:21-CV-04528-RGS
      as individuals, on behalf of themselves, the
14    general public and those similarly situated,   ADMINISTRATIVE MOTION TO
                                Plaintiffs,          CONDUCT THE NOVEMBER 18. 2021
15
                                                     HEARING IN PERSON (CIVIL LOCAL
16           v.                                      RULE 7-11)

17    KIND LLC,

18                              Defendant.
                                                     HONORABLE RICHARD SEEBORG
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            Case 3:21-cv-04528-RS Document 30 Filed 11/08/21 Page 2 of 3




1           The COVID-19 pandemic has made virtual hearings the primary means of resolving
2    most types of disputes arising in the course of civil litigation. However, as this Court
3    acknowledges, some hearings are better-suited to take place in person. See Court’s Notice Re:
4    Appearances and Continued Use of Zoom. The hearing on Defendant KIND LLC’s (“KIND”)
5    Motion to Dismiss is one of those hearings. Plaintiffs request that the hearing scheduled for
6    November 18, 2021 take place in person pursuant to Local Rule 7-11.
7           The issue on KIND’s Motion to Dismiss is whether federal law preempts and bars
8    Plaintiffs’ claims from proceeding in court. Although Plaintiffs vehemently dispute that their
9    claims impose requirements that are different from or in addition to FDA requirements, the
10   issue stands to have serious ramifications in this case as well as other cases pending in the
11   Northern District of California. The Court recognized this reality in Minor v. Baker Mills,
12   Inc., et al., No. 3:20-CV-02901-RS when it vacated the hearing on Plaintiff’s Motion for
13   Class Certification “pending disposition of the motion to dismiss in Chong, et al v. KIND
14   LLC, 3:21-cv-04528-RS.” Minor, ECF No. 100. KIND, too, has highlighted two other cases
15   in this district that the Court’s ruling stands to impact, including: Brown, et al. v. The J.M.
16   Smucker Co., No. 3:21-cv-6467-JCS (N.D. Cal.) and Brown, et al. v. Nature’s Path Foods,
17   Inc., No. 4:21-cv-5132-HSG (N.D. Cal.). See ECF No. 20 at p. 9.
18          Given the importance of the hearing and the issues at stake, Plaintiffs request that the
19   hearing occur in-person, as opposed to Zoom. Prior to filing this motion, counsel for Plaintiffs
20   contacted counsel for KIND, Dale Giarli, Daniel Queen and Keri Borders, to determine
21   whether they would agree to conduct the hearing in person. Counsel for KIND stated that they
22   opposed the motion.
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           Case 3:21-cv-04528-RS Document 30 Filed 11/08/21 Page 3 of 3



     Dated: November 8, 2021
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                                              GUTRIDE SAFIER LLP
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